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                                                                       FILED
                                                                         AUG 1 4 2013
                IN THE UNITED STATES DISTRICT COURT
                                                                      Cie rk, U S District Court
                                                                        0 istnct Of Montana
                     FOR THE DISTRICT OF MONTANA                               Billings


                              BILLINGS DIVISION

TERESA HAWLEY, individually as
the natural parent and guardian of            CV 13-27-BLG-DWM-JCL
MIKEKEL SILAS, a minor,
         Plaintiff,                           ORDER
     vs.

W ALLISA DONEY, INDIAN
HEALTH SERVICE d/b/a EAGLE
CHILD HEALTH CENTER JOHN
DOES 1-5 and ABC COMPANIES 1-3,
         Defendants.



      The federal defendants have filed an unopposed motion, along with a

supporting brief, to change the venue of this action from the Billings Division of

this Court to the Great Falls Division. Doc. 11. Upon good cause being shown by

the federal defendants,

      IT IS HEREBY ORDERED that the motion filed by the federal defendants

is granted. Venue in this action is changed to the Great Falls Division. The Clerk

of Court shall assign a Great Falls Division case number and the Court docket and

case caption shall be updated to reflect this change.


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  DATED this 14th day of August, 2013.




                                 remiah C Lynch
                                United States Magistrate Judge




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